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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE

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11       JAS SUPPLY, INC.,                                   CASE NO. 2:21-cv-01015-TL
12                             Plaintiff,
                                                             MINUTE ORDER
13               v.

14       RADIANT CUSTOMS SERVICES, INC.,
         et al.,
15
                               Defendants.
16

17          The following Minute Order is made at the direction of the Court, the Honorable Tana

18 Lin, United States District Judge:

19          (1) Pursuant to LCR 7(h)(3), the Court DIRECTS Defendants to file a response to

20              Plaintiffs’ Motion for Reconsideration (Dkt. No. 120).

21          (2) Defendants’ response brief shall not exceed 2,100 words and shall be filed no later

22              than Monday, December 11, 2023, for the Court’s consideration. No reply briefing is

23              authorized.

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     MINUTE ORDER - 1
               Case 2:21-cv-01015-TL Document 122 Filed 12/05/23 Page 2 of 2




 1          (3) The noting date for Plaintiff’s Motion for Reconsideration shall be reset to

 2              December 11, 2023.

 3          Dated this 5th day of December 2023.

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 5                                                        Ravi Subramanian
                                                          Clerk of the Court
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                                                          s/ Kadya Peter
 7                                                        Deputy Clerk

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     MINUTE ORDER - 2
